Case 3:19-cr-00120-CRB Document 1 Filed 03/14/19 Page 1 of 5


      Winiith States; Bisitrict
                    FOR THE                  '^BD
         NORTHERN DISTRICT OF CALIF%8l{!|Jj^
                     VENUE: SAN FRANCIS©^;, •-
                                                                       '' ^ /   '-



                          UNITED STATES OF AMERICA.

                                            V.




                               RICCI LEE WYNNE,


                                                                                          Q,

                                DEFENDANT(S).


                               INDICTMENT

       18 U.S.C. § 922(g)(1) - Felon in Possession of a Firearm and Ammunition:
    21 U.S.C. § 841(a)(1). 841(b)(1)(C) - Possession with Intent to Distribute Cocaine;
              18 U.S.C. § 924(d) and 21 U.S.C. § 853 - Criminal Forfeiture




                          /'


                          lUiu           C7(^
           A true bill.



                                                                   Foreman


           Filed in open cqurt this.                 day of

                                 hn                    mssh. QQS

                                        C. SPERO                     cie^
                               A-i^S^^AeiSTR/g-E JUDGE

                                                 Bail. $   /Z/t7
Case 3:19-cr-00120-CRB Document 1 Filed 03/14/19 Page 2 of 5
Case 3:19-cr-00120-CRB Document 1 Filed 03/14/19 Page 3 of 5
Case 3:19-cr-00120-CRB Document 1 Filed 03/14/19 Page 4 of 5
Case 3:19-cr-00120-CRB Document 1 Filed 03/14/19 Page 5 of 5
